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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


In re

AMERICAN HOME MORTGAGE                                           Chapter 11
HOLDINGS, INC., et al.,                                          Case No. 07-11047-CSS, et seq.

                                  Debtors.


              ORDER TERMINATING AUTOMATIC STAY UNDER
         SECTION 362 OF THE BANKRUPTCY CODE WITH RESPECT TO
   REAL PROPERTY LOCATED AT 829 PUTNAM AVENUE, BROOKLYN, NY 11221
                          (relates to Docket No. ____)

           UPON CONSIDERATION of the Motion for Relief from Automatic Stay Under Section

362 of the Bankruptcy Code with Respect to Real Property Located at 829 Putnam Avenue,

Brooklyn, NY 11221 (the “Motion”) filed by Regions Mortgage, Inc. (“Movant”), and any

response thereto; the Court having determined that (A) the Court has jurisdiction over the

Motion pursuant to 28 U.S.C. §§ 157 and 1334; (B) this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); (C) venue is proper pursuant to 28 U.S.C. § 1409(a); and (D) service to the

limited parties stated on the Certificate of Service is adequate under the circumstances; and the

Court having further determined that cause exists to grant Movant relief from the automatic stay

with respect to Movant’s exercise of any rights and remedies against the real property located at

829 Putnam Avenue, Brooklyn, NY 11221 (the “Property”) under applicable non-bankruptcy

law; it is hereby

           ORDERED, that the Motion be, and the same is hereby GRANTED. All capitalized

terms not otherwise defined herein shall have the respective meanings set forth in the Motion;

and it is further



Movant: Regions Mortgage, Inc.
D&G Reference: 210264
Property Address: 829 Putnam Avenue, Brooklyn, NY 11221
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        ORDERED, that pursuant to 11 U.S.C. § 362(d), to the extent the automatic stay is

otherwise applicable, Movant is hereby granted relief from the automatic stay, and the automatic

stay is terminated, with respect to Movant’s interest in the Property. Movant is hereby permitted

to exercise its rights under applicable non-bankruptcy law against the Property, including but not

limited to foreclosure of the Mortgage; and it is further

        ORDERED, that nothing in this order (i) shall constitute a determination that the Debtor

holds any interest in the Property or (ii) shall estop the Debtor from denying that it holds any

interest in the Property; and it is further

        ORDERED, that this Order is immediately effective and is not stayed by operation of

law, notwithstanding the stay provisions of Fed. R. Bankr. P. 4001(a)(3).



Date:
        Wilmington, Delaware                  UNITED STATES BANKRUPTCY JUDGE




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